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                EXHIBIT A
                           Complaint
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                                                     4/1/2019     22PM
                                                            Fourth Judicial District, Ada County
                                                            Phil McGrane, Clerk of the Court
                                                            By: Rose Wright, Deputy Clerk




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